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AFFIDAVIT IN SUPPORT OF BOND REQUEST

Re: Jean Leonard Teganya

I, Gregory Meyer, hereby state and depose as follows:

1. [ama citizen of the United States currently residing at 12017 English Maple Lane
Fairfax, VA 22030.

2. I work as a Data Scientist/Postdoctoral Fellow at the Global Health Bureau of The
US Agency for International Development(USAID)

3. Jean Leonard Teganya is a good person. I have known him since he was born; he
is my nephew.

4. Iam financially willing and able to post the bond in the amount determined by the
Court to be reasonable and appropriate for Mr. Teganya’s release from detention.

5. [am also willing and able to support Mr. Teganya when he is released from
custody.

6. I understand all the obligations I have to undertake as a bond obligator. I will
ensure that Jean Leonard Teganya will comply with all the conditions for his
release, appear timely at all hearings scheduled by the court and surrender to the
government if he is ordered removed from the United States.

7. I, therefore ask that the Court takes into consideration Jean Leonard Teganya’s
good character and release him from custody either on his own recognizance or
on minimum bond.

8. I have read the above and the same is true and accurate to the best of my
knowledge and belief.

Date: Oo YY 0S ye C Jn Gregory F. Meyer oe sie
Dr. Gregory Meyer CF fo

Postdoctoral Fellow

USAID/Bureau for Global Health-Office of HIV/AIDS
Supply Chain for Health Division
Phone:336-837-7520
